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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION

SOCIAL POSITIONING INPUT SYSTEMS,                   §
LLC,                                                §
                                                    §
                 Plaintiff,                         §
                                                    §   CIVIL ACTION NO. 2:23-CV-00422-JRG-RSP
v.                                                  §
                                                    §
VALVE CORPORATION, GEARBOX                          §
SOFTWARE, LLC                                       §
.                                                   §
                 Defendant.                         §

                                               ORDER


           Before the Court is Plaintiff’s Rule 41(a)(1)(A)(i) Notice of Voluntary Dismissal of co-

    defendant Gearbox Software, LLC (Dkt. No. 5.).

           Having considered the Notice, the Court ORDERS that Defendant Gearbox Software is

    hereby removed as a Defendant from this case.

          The Clerk of Court is directed to MAINTAIN AS OPEN the above-captioned case.
           SIGNED this 3rd day of January, 2012.
          SIGNED this 27th day of November, 2023.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE
